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Case 2:15-mj-01650-DUTY Document 8 Filed 02/01/16 Pagelof1 Page ID #:220
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on Leet
Mw aa< |
») = wor} UNITED STATES DISTRICT COURT
Lt =< 335
2 =e , THE CENTRAL DISTRICT OF CALIFORNIA
In the* Satter af the Search of | No. M 15-01650
Information associated with |
|the account identified as [PROPOSED] ORDER ALLOWING
contadora.joia09@gmail.com, EXTENSION OF TIME WITHIN WHICH TO
that is stored at the premises RETAIN AND SEARCH DIGITAL EVIDENCE
controlled by Google, Inc.
For good cause shown, IT IS HEREBY ORDERED that the government
“may retain and search, pursuant to the terms of the original warrant
) on this matter, for an additional 120 days beyond the time period
|
previously authorized, or until June 6, 2016, the content of email
account contadora.joia09@gmail.com that was produced by Google, Inc.
| on December 7, 2015.
DATED: FEB - 1 20l6 a we M dige b
HONORABLE
UNITED STATES MAGISTRATE JUDGE
2 _ SEGAL
Prepared by: SUZANNE H
(s/f
Vicki Chou
Assistant United States Attorney

 

 

 

 

 
